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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. ; Case No. 21-cr-179-RCL

RACHEL POWELL,

Defendant.
ORDER
Pursuant to the motion filed by the United States, ECF No. 138, it is hereby ordered that

the Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.

wr
SO ORDERED this *'* day of _ Prey , 2025.

Bout Lowe

HONORABLE Royce C. Lamberth
United States District Court Judge

